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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                    CRIMINAL MINUTES

Case No.      CR 20-326(A)-JFW                                           Dated: January 31, 2022

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PRESENT: HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

     Shannon Reilly     Miranda Algorri     Mack Eric Jenkins . Veronica Dragalin . Melissa Mills
    Courtroom Deputy    Court Reporter                 Asst. U.S. Attorney - Present


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U.S.A. vs (Dfts listed below)   Attorneys Present for Defendants

1. Jose Luis Huizar (CR-35 on file)       1. Carel Ale/Charles James Snyder/Adam Olin, DFPD
2. Raymond She Wah Chan, Present          2. Harland W Braun, Retained
4. Shen Zhen New World I, LLC             4. Richard M. Steingard, Retained
5. Dae Yong Lee (CR-35 on file)           5. Ariel A Neuman, Retained
6. 940 Hill, LLC                          6. Ariel A Neuman, Retained


PROCEEDINGS (Zoom): JOSE HUIZAR'S AMENDED MOTION TO SUPPRESS EVIDENCE
                    DERIVED FROM THE UNLAWFUL SEIZURE AND SEARCH OF 39
                    MONTHS OF PERSONAL EMAILS [307] Filed 12/16/21

                           MOTION TO SUPPRESS EVIDENCE, DISMISS COUNTS, AND
                           STRIKE ALLEGATIONS DUE TO GOVERNMENT'S VIOLATIONS OF
                           ATTORNEY-CLIENT PRIVILEGE [275] Filed 11/15/21

                           JOSÉ LUIS HUIZAR'S MOTION TO SUPPRESS PRIVILEGED
                           ATTORNEY-CLIENT COMMUNICATIONS [281] Filed 11/15/21

                      AMENDED MOTION AND AMENDED MOTION TO SUPRESS
                      INFORMATION OBTAINED PURSUANT TO PROFFER AGREEMENT
                      Filed 12/16/21 [312] Filed 12/17/21
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Case called, and counsel make their appearance by Zoom VTC. Defendant Raymond She Wah
Chan is present by Zoom VTC. Defendants Jose Luis Huizar and Dae Yong Lee each filed a
Waiver of Presence (CR-35).

Court hears oral argument, and for the reasons stated on the record:

•       Jose Huizar's Amended Motion to Suppress Evidence Derived from the Unlawful Seizure
        and Search of 39 Months of Personal Emails [307] Filed 12/16/21 is DENIED.




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•     Shen Zhen New World I, LLC’s Motion to Suppress Evidence, Dismiss Counts, and Strike
      Allegations Due to Government's Violations of Attorney-client Privilege [275] Filed 11/15/21
      is DENIED.

•     José Luis Huizar's Motion to Suppress Privileged Attorney-Client Communications [281]
      Filed 11/15/21 is DENIED without prejudice.

•     Jose Huizar's Amended Motion to Suppress Information Obtained Pursuant to Proffer
      Agreement [312] Filed 12/16/2021 is DENIED.

Court and counsel discuss the Stipulation Regarding Request for (1) Continuince of Trial Date and
Related Deadlines and (2) Findings Of Excludable Time Periods Pursuant to Speedy Trial Act
(“Stipulation”) (Filed 1/21/2022; Docket No. 352) and for the reason stated on the record, counsel
shall submit a revised Stipulation with a new Trial date of October 18, 2022.


CC: USPO/PSA; USM




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